Case 6:20-cv-00341-RBD-DCI Document 20 Filed 07/16/20 Page 1 of 4 PageID 103




                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

                              Case No.: 6:20-cv-00341-RBD-DCI


STRIKE 3 HOLDINGS LLC,
a limited liability company,

       Plaintiff,

v.

DAVID CINTRON,
an individual,

       Defendant.

____________________________/

               DEFENDANT’S UNOPPOSED MOTION TO SET ASIDE
         CLERK’S DEFAULT WITH INCORPORATED MEMORANDUM OF LAW

       Defendant DAVID CINTRON, by and through undersigned counsel and pursuant to Rule

55(c) of the Federal Rules of Civil Procedure, hereby respectfully moves this Court for an Order

to set aside the Clerk’s Entry of Default (Doc. 17) which was entered on June 8, 2020. In support

of this Motion, Defendant has incorporated a Memorandum of Law and states the following:

       1.      On April 17, 2020, Plaintiff filed its First Amended Complaint (Doc. 12) against

 Defendant.

       2.      The Return of Service (Doc. 13) reflecting service being executed on April 28,

 2020 was filed on May 5, 2020.

       3.      Defendant’s response to the Plaintiff’s First Amended Complaint would have

 been due on May 19, 2020.

       4.      Plaintiff filed its Motion for Entry of Clerk’s Default (Doc. 16) against Defendant

 on June 4, 2020 and on June 8, 2020, the Clerk entered an Entry of Default (Doc. 17).
Case 6:20-cv-00341-RBD-DCI Document 20 Filed 07/16/20 Page 2 of 4 PageID 104




       5.      Due to the complications associated attempting to find counsel after being served

in the middle of a global pandemic, Defendant was only able to secure the benefit of counsel

after the Clerk’s Entry of Default (Doc. 17).

       6.      Plaintiff has not filed its Motion for Final Judgment and counsel for Plaintiff does

not oppose this Motion to Set Aside the Clerk’s Default.

                                     MEMORANDUM OF LAW

       It is well within the court’s discretion to set aside entry of a default. See, e.g., Singh v.

Hopkins Meat Packing, Inc., No. 6:08-cv-1605-Orl-35KRS, 2008 WL 4922071, at *1 (M.D. Fla.

Nov. 13, 2008). Pursuant to Rule 55(c) of the Federal Rules of Civil Procedure, “[t]he court may

set aside an entry of default for good cause.” See, e.g., EEOC v. Mike Smith Pontiac GMC, Inc.,

896 F.2d 524, 527-28 (11th Cir. 1990). The Eleventh Circuit has noted that “good cause,” while

not precisely defined, is “a ‘liberal’ and ‘mutable’ standard, and one that varies from situation to

situation.” Scotlynn USA Div., Inc. v. Titan Trans Corp., 2019 WL 166325, *1, *3 (M.D. Fla.

Jan. 10, 2019) (citing Perez v. Wells Fargo N.A., 774 F.3d 1329, 1337 n.7 (11th Cir. 2014) and

Compania Interamericana Exp.-Imp., S.A. v. Compania Dominicana de Aviacion, 88 F.3d 948,

951 (11th Cir. 1996)). Even where there is uncertainty as to whether “good cause” exists, courts

generally set aside the default so that the case may be decided on its merits. See Singh, No. 6:08-

cv-1605-Orl-35KRS, 2008 WL 4922071, at *2.

       In making a determination of whether the requisite amount of good cause to set aside the

default exists, courts may consider several factors, including “‘whether the default was culpable

or willful, whether setting it aside would prejudice the adversary, and whether the defaulting

party presents a meritorious defense’.” Scotlynn (citing Compania Interamericana, 88 F.3d at

951). Courts may also consider the public interest in a default, if the defaulting party would




                                                 2
Case 6:20-cv-00341-RBD-DCI Document 20 Filed 07/16/20 Page 3 of 4 PageID 105




suffer significant financial loss “and whether the defaulting party acted promptly to correct the

default.” Id. The Eleventh Circuit has long expressed its preference that cases ought to be

decided on the merits rather than on technicalities, and courts therefore make every possible

effort to allow a defendant to have its day in court. See id. (citing Perez, 774 F. 3d at 1342 and

Florida Physician's Ins. Co. v. Ehlers, 8 F.3d 780, 783 (11th Cir. 1993) (“We note that defaults

are seen with disfavor because of the strong policy of determining cases on their merits.”) (citing

Gulf Coast Fans, Inc. v. Midwest Elecs. Importers, Inc., 740 F.2d 1499, 1510 (11th Cir. 1984)).

       Good cause exists to set aside the Entry of Default against Defendant pursuant to Rule

55(c) of the Federal Rules of Civil Procedure. Defendant was served with the Summons and

Complaint on April 28, 2020 which was during the statewide stay-at-home order issued by the

State of Florida during the initial months of the Covid-19 pandemic. The subsequent delays

experienced by Defendant because of the challenges associated with navigating the local,

statewide and national restrictions associated with the Covid-19 pandemic in seeking and

obtaining counsel are understandable. Such circumstances form the embodiment of good cause

under Rule 55(c) to set aside the Entry of Default against Defendant.

       Further, Defendant has not delayed in seeking to set aside the Default as Defendant

recently was able to obtain counsel and this Motion has been filed 36 days after the Default was

entered on June 8, 2020. This delay can be seen as excusable given the current state of the

ongoing Covid-19 pandemic in Florida.

       Lastly, Plaintiff is not be prejudiced by setting aside the Entry of Default as Plaintiff does

not oppose this Motion, as certified below.




                                                 3
Case 6:20-cv-00341-RBD-DCI Document 20 Filed 07/16/20 Page 4 of 4 PageID 106




                               LOCAL RULE 3.01(g) CERTIFICATE

       Pursuant to Local Rule 3.01(g), counsel for Defendant has conferred with counsel for

Plaintiff by email and Plaintiff does not oppose the relief sought in this Motion.

Wherefore, Defendant respectfully requests that this Court enter an Order, pursuant to Rule 55(c)

of the Federal Rules of Civil Procedure, setting aside the Clerk’s Entry of Default (Doc. 17)

entered on June 8, 2020 and setting a date for Defendant to file a response to Plaintiff’s

Amended Complaint.

       Respectfully submitted on this 16th day of July 2020 by:


                                       By:    _/s/ Steven R. Kozlowski__
                                              STEVEN R. KOZLOWSKI, ESQ.
                                              Fla. Bar No. 0087890

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                                              Counsel for Defendant



                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I electronically filed the foregoing Notice of Appearance with

the Clerk of the Court using the CM/ECF on July 16, 2020, and that the foregoing is being

served this day via transmission of Notices of Electronic Filing generated by CM/ECF upon

counsel    for    Plaintiff   Strike   3     Holdings,    LLC:     Rachel    E.      Walker,   Esq.,

(RWalker@smgqlaw.com), SMGQ Law 2 South Biscayne Blvd., 34th Floor, Miami, FL 33131.


                                       By:    _/s/ Steven R. Kozlowski__
                                              STEVEN R. KOZLOWSKI, ESQ.
                                              Fla. Bar No. 0087890



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